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Case 1:08-cv-00511-.]TN ECF No. 3 filed 05/30/08 Page|D.lQ Page 1 of 15 `

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UNITED STATES DISTRICT COURT WESTE`L§ §!§¥§\’§$ §?Li?§H.G/W
IN THE WESTERN DISTRICT OF MICHIGAN BY: _`/_ALD
SOUTHERN DIVISION 1

Anthony Wind.le and Rebecca Windle

 

Plaintiffs,
Civil Acrion No. 1 208-CV"51 1
V Janet T. Neff
Honorable U_S_ D-|strict Judge
Holiday Village of Scottville, Inc., a Michigan
corporation, Alice B. Fitch, Ray Griffln, Jr.,
and Timothy Grift`in,
Defendants :
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Brian J. Monron (P70837) Daniel J. Martin (P67848)
Thompson, Thompson & Glanville, PLC William J. Perrone (P27591)
Attorneys for Plaintiffs Dykema Gossett PLLC 1
l l l E. Court Street Attorneys for Defendants Holiday Village of
P.O. Box 609 Scottville, Inc. and Alice B. Fitch
Ludington, Ml 49431-0609 300 Ottawa Avenue N.W., Suite 700

(616) 776-7500

 

(231) 843-8579 Grand Rapids, MI 49503

DEFENDANTS HOLIDAY VILLAGE OF SCOTTVILLE, INC. AND ALICE B. FITCH'S
ANSWER TO COMPLAINT AND AFFIRMATIVE DEFENSES

Defendants Holiday Village of Scottville, Inc. (“Holiday Village”) and Alice B. Fitch

(“Fitch”) answer Plaintiffs’ Complaint as follows:
Jurisdiction And Venue

l. This Circuit Court has jurisdiction of this civil case brought under the Elliott-

Larsen Civil Rights Act (ELCRA), MCL 37.2101 et seq., without respect to the amount of \

damages `

ANSWER: Defendants Holiday Village and Fitch neither admit nor deny the allegations i

of Paragraph 1 because they state legal conclusions. Defendants Holiday |

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Village and Fitch further answer that the United States District Court for the
Western District of Michigan has jurisdiction over this action pursuant to 28

 

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Case 1:08-cv-00511-.]TN ECF No. 3 filed 05/30/08 Page|D.ZO Page 2 of 15

U.S.C. §§ 1441(b) & 1367(a).

2. Plaintiffs are husband and wife and reside in Mason County.

ANSWER: Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 2 because they lack knowledge or information sufficient to form
a belief as to the truth of those allegations.

3. Defendant, Holiday Village of Scottville, lnc., is a Michigan corporation whose
registered office address is 1707 W. U.S. 10, Scottville, Mason County, Michigan 49454 and
whose principal place of business is located in Mason County. Holiday Village of Scottville,
lnc., owns and operates the mobile horne park known as Holiday Village located in Scottville,
Michigan.

ANSWER: Defendants Holiday Village and Fitch admit that Holiday Village is a
Michigan corporation whose principal place of business is located in Mason
County but state that its registered office is 1701 W. U.S. 10, Scottville,
Michigan, not 1707 W. U.S. 10, Scottville, Michigan. Def`endants Holiday
Village and Fitch admit that Holiday Village of` Scottville, Inc. owns and
operates the mobile home park known as Holiday Village located in Scottville,
Michigan.

4. Upon information and belief, Defendant, Alice B. Fitch, an individual, is the
Secretary, Treasurer, and Park Manager of Defendant, Holiday Village of Scottville, lnc. and
resides in Mason County.

ANSWER: Defendants Holiday Village and Fitch admit that Alice B. Fitch is the
Secretary and Treasurer of Holiday Village of Scottville, Inc. and that her
duties as an officer of Holiday Village of Scottville, Inc. include management
of the mobile home park. Defendants Holiday Village and Fitch deny that
Fitch resides in Mason County.

5. Defendants, Ray Griff`m, Jr. and Timothy Griff`ln, are individuals who reside in
Mason County.

ANSWER: Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 5 because they lack knowledge or information sufficient to form
a belief as to the truth of those allegations.

6. Ray Griffin, Jr. and Timothy Griffin are or have been employed by Holiday

 

 

 

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.21 Page 3 of 15

Village of Scottville, Inc. to perform landscaping and other miscellaneous activities in Holiday

Village and are paid in cash for such services

ANSWER:

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ANSWER:

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ANSWER:

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ANSWER:

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ANSWER:

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Defendants Holiday Village and Fitch deny as untrue the allegations of
Paragraph 6. Defendants Holiday Village and Fitch further answer that Ray
Griffin Jr. (a/k/a Ray Griffin III) and Timothy Griffin, who are both sons of
tenant Ray Griffin, have never been employees of Holiday Village. Defendant
Holiday Village contracted with Ray Griffin Jr. (a/k/a Ray Griffin III) and
Timothy Griffin to perform certain projects. Ray Griffin Jr. (a/k/a Ray
Griffin III) and Timothy Griffin were paid for the projects by check. The last
occasion on which Ray Griffin Jr. (a/k/a Ray Griffin III) and Timothy Griffin
performed contract work for Holiday Village was on or around January 7,
2008.

This cause of action arose in Mason County.

Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 7 because they state legal conclusions.

This cause of action involves real property located in Mason County.

Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 8 because they state legal conclusions.

Venue is proper in Mason County.

Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 9 because they state legal conclusions. Defendants Holiday
Village and Fitch further answer that venue is proper in the United States
District Court for the Western District of Michigan.

Fact Allegations

Plaintiffs hereby incorporate by reference Paragraphs l through 9.

Defendants Holiday Village and Fitch incorporate herein by reference their
Answers to the allegations of Paragraphs 1 through 9.

Plaintiff Anthony Windle is African-American.

Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 11 because they lack knowledge or information sufficient to
form a belief as to the truth of those a.llegations.

Holiday Village of Scottville, Inc. owns the mobile home park known as Holiday

 

 

 

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.22 Page 4 of 15

Village, which is located at 1701 W. U.S. 10, Scottville, Ml 49454.

ANSWER: Defendants Holiday Village and Fitch admit the allegations of Paragraph 12.

13. Plaintiffs own a mobile home, rent a lot, and reside in Holiday Village of
Scottville, lnc.’s mobile home park. See Lease Agreement attached as Exhibit 1.

ANSWER: Defendants Holiday Village and Fitch admit that Plaintiffs have rented a lot
and reside in Holiday Village of Scottville, Inc.’s mobile home park.
Defendants Holiday Village and Fitch deny that Plaintiffs own the mobile
home that they reside in at Holiday Village. Upon information and belief, the
mobile home in which Plaintiffs reside is owned by Ronald E. and Jeannette A
Thornburgh.

14. Defendants Ray Grifiin, Jr. and Timothy Griffin reside or have resided in a
mobile home located on the lot adjoining Plaintiffs’ lot.

ANSWER: Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 14 because they lack knowledge or information sufficient to
form a belief as to the truth of those allegations. Defendants Holiday Village
and Fitch further answer that Ray Griffin, the father of Ray Griffin Jr. (a/k/a
Ray Griffin III) and Timothy Griffin, rents a lot at Holiday Village of
Scottville, Inc. that is located on the lot adjoining the lot that Plaintiffs are
renting.

15. Since August 2007, Plaintiffs have been trying to sell their mobile home and
move to another location.

ANSWER: Defendants Holiday Village and Fitch deny that Plaintiffs own the mobile
home that they reside in at Holiday Village. Defendants Holiday Village and
Fitch neither admit nor deny the remaining allegations of Paragraph 15
because they lack knowledge or information sufficient to form a belief as to
the truth of those allegations.

16. In September 2007, Plaintiffs accepted an offer from Ryan and Mandy Roberts to
purchase Plaintiffs’ mobile horne for Twenty-Two Thousand Five Hundred Dollars
($22,500.00). Ryan and Mandy Roberts also offered to sign the lease for the lot and pay rent
three months in advance

ANSWER: Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 16 because they lack knowledge or information sufficient to

 

 

 

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.23 Page 5 of 15

17.

form a belief as to the truth of those allegations. Defendants Holiday Village
and Fitch deny as untrue that a Ryan and/or Mandy Roberts made an offer to
Defendant Holiday Village and/or Defendant Fitch to sign a lease. Defendants
Holiday Village and Fitch further answer that Plaintiffs are not the owners of
the mobile home that they reside in at Holiday Village. Defendants Holiday
Village and Fitch further answer that the first time they learned of alleged
potential buyers Ryan and Mandy Roberts was upon reviewing the
Complaint.

When Plaintiff Anthony Windle informed Alice B. Fitch that Ryan and Mandy

Roberts were African American, she refused to permit the sale of Plaintiffs’ mobile home to

Ryan and Mandy Roberts and refused to rent the lot to them based on their race.

ANSWER:

18.

Defendants Holiday Village and Fitch deny as untrue the allegations in
Paragraph 17. Defendants Holiday Village and Fitch further answer that the
first time they learned of alleged potential buyers Ryan and Mandy Roberts
was upon reviewing the Complaint. Defendants Holiday Village and Fitch
further answer that Plaintiffs do not own the mobile home that they reside in
at Holiday Village.

Ryan and Mandy Roberts subsequently purchased another home, and Plaintiffs

have not been able to sell their mobile home to another party.

ANSWER:

19.

Defendants Holiday Village and Fitch deny that Plaintiffs own the mobile
home that they reside in at Holiday Village. Defendants Holiday Village and
Fitch neither admit nor deny the remaining allegations in Paragraph 18
because they because they lack knowledge or information sufficient to form a
belief as to the truth of those allegations.

After the attempted sale to Ryan and Mandy Roberts, Alice Fitch raised Plaintiffs’

lot rent in retaliation from $197.00 to $205.00. Further, Plaintiffs pay higher rent than other

residents of Holiday Village for similarly situated lots.

ANSWER:

Defendants deny that Plaintiffs pay higher rent than other residents of
Holiday Village for similarly situated lots. Defendants Holiday Village and
Fitch admit that Plaintiffs’ rent Was increased $8.00 per month. The $8.00
increase was a uniform rent increase applied to all lot rentals at Holiday
Village. Defendants Holiday Village and Fitch further answer that the first
time they learned of alleged potential buyers Ryan and Mandy Roberts was
upon reviewing the Complaint. Defendants Holiday Village and Fitch deny
raising Plaintiffs’ rent in retaliation to an alleged attempted sale to a Ryan
and Mandy Roberts.

 

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.24 Page 6 of 15

20. When Defendants Ray Griffin, Jr. and Timothy Griffin learned that Plaintiff
Anthony Windle was African American, Plaintiff Anthony Windle and his five year-old son,
Jayden Windle, have been subjected to harassment, vandalism, and assaults perpetuated by Ray
Griffin, Jr., and Timothy Griffin.

ANSWER: Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 20 because they lack knowledge or information sufficient to
form a belief as to the truth of those allegations. Defendants Holiday Village
and Fitch further answer that their receipt of the Complaint was the first time
they received notice of any alleged race-based harassment, vandalism, or
assaults.

21. Ray Griffin, Jr. and Timothy Griffin have repeatedly directed racially motivated
taunts toward Plaintiffs, including referring to them as “niggers” among other racial slurs.

ANSWER: Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 21 because they lack knowledge or information sufficient to
form a belief as to the truth of those allegations. Defendant Holiday Village
and Fitch further answer that their receipt of the Complaint was the first time
they received notice of any alleged racially motivated taunts towards
Plaintiffs.

22. On February 26, 2008, Ray Griffin, Jr. and Timothy Griffin assaulted Anthony

Windle with shovels and directed various racial slurs at him.

ANSWER: Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 22 because they lack knowledge or information sufficient to
form a belief as to the truth of those allegations. Defendant Holiday Village
and Fitch further answer that their receipt of the Complaint was the first time
they received notice of any alleged racially motivated taunts towards
Plaintiffs.

23. On or about February 26, 2008, Plaintiffs’ cat went missing Anthony Windle
asked Ray Griffin, Jr. and Timothy Griffin if they had seen the cat. Ray Griffin, Jr. and Timothy

Griffin laughed at Anthony Windle and taunted his five year-old son, Jayden Windle, regarding

the disappearance of his cat. On March 16, 2008, fur and other pieces of the cat were discovered

on Plaintiffs’ deck.

 

 

 

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.25 Page 7 of 15

ANSWER: Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 23 because they lack knowledge or information sufficient to
form a belief as to the truth of those allegations.

24. On or about l\/larch 9, 2008, Ray Griffin, Jr. and Timothy Griffin vandalized
Plaintiffs’ car; they drew a Nazi swastika and wrote “die stupid nigger” on the rear bumper Ray
Griffin, Jr, and Timothy Griffin also kicked in the rear bumper of Plaintiffs’ car.

ANSWER: Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 24 because they lack knowledge or information sufficient to
form a belief as to the truth of those allegations. Defendant Holiday Village

and Fitch further answer that their receipt of the Complaint was the first time
they received notice of the conduct alleged in Paragraph 24.

25. Anthony Windle informed Alice Fitch of the racial harassment that had been
perpetrated on Plaintiffs by her employees, Ray Griffin, Jr. and Timothy Griffin, as well as other
residents of the mobile home park, and she has either sanctioned this conduct in hope of forcing
Plaintiffs to move and/or failed in her duty as Park Manager to stop it.

ANSWER: Defendants Holiday Village and Fitch deny as untrue the allegations in

Paragraph 25.

26. As a proximate result of Defendants’ conduct:

a. Plaintiffs were denied the opportunity to find alternative housing at a
location where they would not be subject to racial discrimination and
harassment;

b, Plaintiffs lost the money they would have received in the sale of their

mobile home as they are still unable to sell it;
c. Plaintiffs incurred increased lot rent;

d. Plaintiffs experienced frustration, humiliation, embarrassment, severe
mental and emotional distress, and a deprivation of their right to housing
on an equal basis with other persons regardless of race. Anthony Windle
is a combat veteran of the United Stated (sic - “States”) Army and suffers
from post-traumatic stress disorder (PTSD). These events have
aggravated his PTSD symptoms Jayden Windle suffers from nightmares
and is too frightened to leave the house as a result of the events described
above; and

 

 

 

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.26 Page 8 of 15

ANSWER:

27.

ANSWER:

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37.2102(1).

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These losses and injuries may continue in the future.

Defendants Holiday Village and Fitch deny that Plaintiffs suffered any harm
as a proximate result of Defendant Holiday Village and/or Defendant Fitch’s
conduct.

3.

Defendants Holiday Village and Fitch deny as untrue the allegations
of Paragraph 26(a).

Defendants Holiday Village and Fitch deny as untrue the allegations
of Paragraph 26(b). Defendants Holiday Village and Fitch further
answer that Plaintiffs do not own the mobile home that they reside in
at Holiday Village.

Defendants Holiday Village and Fitch admit that Plaintiffs’ rent
increased by 58.00 per month. Defendants Holiday Village and Fitch
further answer that the 88.00 increase was a uniform rent increase
applied to all lot rentals at Holiday Village. Defendants Holiday
Village and Fitch further answer that the first time they learned of
alleged potential buyers Ryan and Mandy Roberts was upon
reviewing the Complaint. Defendants Holiday Village and Fitch deny
raising Plaintiffs’ rent in retaliation to an alleged attempted Sale to a
Ryan and Mandy Roberts.

Defendants Holiday Village and Fitch deny that their conduct was a
proximate cause of any damages to Plaintiffs. Defendants Holiday
Village and Fitch neither admit nor deny the remaining allegations of
Paragraph 26(d) because they lack knowledge or information
sufficient to form a belief as to the truth of those allegations.

Defendants Holiday Village and Fitch deny that their conduct was a
proximate cause of any damages to Plaintiffs. Defendants Holiday
Village and Fitch neither admit nor deny the remaining allegations of
Paragraph 26(e) because they lack knowledge or information
sufficient to form a belief as to the truth of those allegations.

Count 1 - Violation of the Elliott-Larsen Civil Rights Act as
Against Holiday Village of Scottvillej Inc., and Alice Fitch

Plaintiffs hereby incorporate by reference Paragraphs 1-28 (sic - “1-26”).

Defendants Holiday Village and Fitch incorporate herein by reference their
Answers to the allegations of Paragraphs 1 through 26.

Defendants owed a duty to Plaintiffs to comply with the ELCRA, MCL

 

 

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.Z? Page 9 of 15

ANSWER: Defendants Holiday Village and Fitch neither admit nor deny the allegations
of Paragraph 28 because they state legal conclusions.

29. Defendants violated their duties under the Act by refusing to engage in a real
estate transaction with Plaintiffs and their qualified buyers, Ryan and Mandy Roberts.

ANSWER: Defendants Holiday Village and Fitch deny as untrue that they violated MCL
37.2102(1). Defendants Holiday Village and Fitch deny as untrue that they
refused to engage in a real estate transaction with Plaintiffs and their
qualified buyers, Ryan and Mandy Roberts. Defendants Holiday Village and
Fitch further answer that the first time they learned of alleged potential
buyers Ryan and Mandy Roberts was upon reviewing the Complaint.

30. Defendants refusal to engage in the real estate transaction was based on race.

ANSWER: Defendants deny as untrue that they refused to engage in a real estate
transaction with Plaintiffs and Ryan and Mandy Roberts. Defendants
Holiday Village and Fitch further answer that the first time they learned of
alleged potential buyers Ryan and Mandy Roberts was upon reviewing the
Complaint. Defendants Holiday Village and Fitch deny as untrue the
remaining allegations in Paragraph 30.

31. Defendants’ violation caused Plaintiffs the above damages under the ELCRA
because Plaintiffs are still unable to sell their mobile home and move out of Holiday Village.

ANSWER: Defendants Holiday Village and Fitch deny as untrue the allegations in
Paragraph 31.

Count II - Violation of the Fair Housing Act as Against All Defendants
32 Plaintiffs hereby incorporate by reference Paragraphs 1-33 (sic ~ “1-31”).

ANSWER: Defendants Holiday Village and Fitch incorporate herein by reference their
Answers to the allegations of Paragraphs 1 through 31.

33. Defendants’ acts, including those through its agents, as described herein, violate
the F air Housing Act, as amended, 42 USC 3604.

ANSWER: Defendants Holiday Village and Fitch deny as untrue the allegation that they
violated 42 U.S.C. §3604. Defendants Holiday Village and Fitch further
answer that Defendant Timothy Griffin and Defendant Ray Griffin Jr. (a/k/a
Ray Griffin III) are not, and never have been, agents of Defendant Holiday
Village or Defendant Fitch. Defendants Holiday Village and Fitch neither
admit nor deny the allegations of Paragraph 33 with respect to any other

 

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.28 Page 10 of 15

34.

Defendants because they lack knowledge or information sufficient to form a
belief as to the truth of those allegations.

Defendants’ acts, as described above, constitute a refusal to sell, rent, or negotiate

for the sale of housing and made a housing transaction unavailable on the basis of race and/or

color in violation of 42 USC 3604.

ANSWER:

Defendants Holiday Village and Fitch deny as untrue the allegation that they
engaged in conduct that constitutes a refusal to sell, rent, or negotiate for the
sale of housing and/or made a housing transaction unavailable on the basis of
race and/or color in violation of 42 U.S.C. §3604. Defendants Holiday Village
and Fitch neither admit nor deny the allegations of Paragraph 33 with respect
to any other Defendants because they lack knowledge or information
Sufficient to form a belief as to the truth of those allegations.

Count III - Violation of the Civil Rights Act of 1966 as Against All Defendants

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ANswER;
36.

Plaintiffs incorporate by reference Paragraphs 1 through 36 (sic - “1 through

Defendants Holiday Village and Fitch incorporate herein by reference their
Answers to the allegations of Paragraphs 1 through 34.

Defendant’s acts, including those of their agents, as described herein, violate the

Civil Rights Act of 1966, 42 USC 1982, because they denied Plaintiffs the same right as is

enjoyed by white citizens to purchase and lease property in Holiday Village.

ANSWER:

Defendants Holiday Village and Fitch deny as untrue the allegation that they
violated 42 U.S.C. §1982 by denying Plaintiffs the same right as is enjoyed by
white citizens to purchase and lease property in Holiday Village. Defendants
Holiday Village and Fitch further answer that Defendant Timothy Griffin
and Defendant Ray Griffin Jr. (a/k/a Ray Griffin III) are not, and never have
been, agents of Defendant Holiday Village or Defendant Fitch. Defendants
Holiday Village and Fitch neither admit nor deny the allegations of
Paragraph 33 with respect to any other Defendants because they lack
knowledge or information sufficient to form a belief as to the truth of those
allegations.

Count IV - Intentional Inf`liction of Emotional Distress as Against All Defendants

37.

Plaintiffs incorporate by reference Paragraphs l through 38 (sic - “l through

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.29 Page 11 of 15

36”).

ANSWER:

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ANSWER:

39.

Defendants Holiday Village and Fitch incorporate herein by reference their
Answers to the allegations of Paragraphs 1 through 36.

Defendants’ conduct as outlined above was intentional

Defendants Holiday Village and Fitch deny as untrue the allegation that they
engaged in any intentional misconduct. Defendants Holiday Village and Fitch
neither admit nor deny the allegations of Paragraph 38 with respect to any
other Defendants because they lack knowledge or information sufficient to
form a belief as to the truth of those allegations.

Defendants’ conduct as outlined above was extreme, outrageous, and of such

character as not to be tolerated by a civilized society.

ANSWER:

40.

Defendants Holiday Village and Fitch deny as untrue the allegations in
Paragraph 39 as against Holiday Village and Fitch. Defendants Holiday
Village and Fitch neither admit nor deny the allegations of Paragraph 39 with
respect to any other Defendants because they lack knowledge or information
sufficient to form a belief as to the truth of those allegations.

Defendants’ conduct as outlined above was for the purpose of ridding Holiday

Village of its only African American resident, Anthony Windle.

ANSWER:

41.

ANSWER:

42.

Defendants Holiday Village and Fitch deny as untrue the allegations in
Paragraph 40 as against Holiday Village and Fitch. Defendants Holiday
Village and Fitch neither admit nor deny the allegations of Paragraph 40 with
respect to any other Defendants because they lack knowledge or information
sufficient to form a belief as to the truth of those allegations.

Defendants’ conduct resulted in severe and serious emotional distress.

Defendants Holiday Village and Fitch deny as untrue the allegations in
Paragraph 41 as against Holiday Village and Fitch. Defendants Holiday
Village and Fitch neither admit nor deny the allegations of Paragraph 41 with
respect to any other Defendants because they lack knowledge or information
sufficient to form a belief as to the truth of those allegations.

As a direct and proximate result of Defendants’ conduct, Plaintiffs have been

damaged in the manner outlined above.

ANSWER:

Defendants Holiday Village and Fitch deny as untrue the allegations in
Paragraph 42 as against Holiday Village and Fitch. Defendants Holiday

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.3O Page 12 of 15

Village and Fitch neither admit nor deny the allegations of Paragraph 42 with
respect to any other Defendants because they lack knowledge or information
sufficient to form a belief as to the truth of those allegations.

Count V _ Negligent Hire and Supervision as AgLnst
Holiday Village of Scottville, Inc. and Alice Fitch

43. Plaintiffs incorporate by reference Paragraphs 1 through 44 (sic ~ “1 through
42”).

ANSWER: Defendants Holiday Village and Fitch incorporate herein by reference their
Answers to the allegations of Paragraphs 1 through 42.

44. Alice Fitch and Holiday Village of Scottville, Inc. owed a duty to Plaintiffs to
engage in real estate transactions that were free from unlawful discrimination, and to hire, train,
and supervise their employees, agents and themselves to fulfill that duty. Alice Fitch and
Holiday Village of Scottville, Inc. negligently violated that duty by discriminating against
Plaintiffs and acquiescing in the discrimination by their agents or employees Alice Fitch and
Holiday Village of Scottville, Inc.’s violation of that duty was the result of negligence, including
but not limited to:

a. Negligent failure to train employees or agents regarding the requirements
of state and federal fair housing laws;

b. Negligent failure to hire persons who were familiar with the requirements
of state and federal fair housing laws;

c. Negligent failure to supervise employees or agents regarding compliance
with the requirements of state and federal fair housing laws; and

d. Negligent failure to discipline or terminate employees who failed to
comply with the requirements of state and federal fair housing laws

ANSWER: Defendants Holiday Village and Fitch deny as untrue the allegations in
Paragraph 44.

45. Plaintiffs, as a direct and proximate result of Alice B. Fitch and Holiday Village

of Scottville, Inc.’s negligent conduct, suffered humiliation, mental anguish, severe emotional

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.31 Page 13 of 15

distress and other special and general damages according to proof.

ANSWER: Defendants Holiday Village and Fitch deny as untrue the allegations in
Paragraph 45.

GENERAL DENIAL

Defendants Holiday Village and Fitch deny all allegations and/or legal conclusions
contained in the Complaint that have not previously been specifically admitted, denied, or
explained

WHEREFORE, Defendants Holiday Village and Fitch request that the Court dismiss
Plaintiffs’ claims with prejudice, award Defendants their attorneys’ fees and costs in defending

this action, and order such further relief as the Court deems just.

AFFIRMATIVE DEFENSES

Defendants Holiday Village and Fitch have not yet had the opportunity to engage in
discovery or investigate this matter and therefore rely upon such of the following defenses as
may prove applicable:

First Affirmative Defense

1. Plaintiffs’ Complaint, in whole or part, fails to state a claim upon which relief
may be granted

Second Affirmative Defense

2. Defendants Holiday Village and Fitch have, at all times, treated Plaintiffs in a fair
and non-discriminatory manner and have legitimate business reasons for their actions

Third Affirmative Defense

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3. Plaintiffs’ claims are barred, in whole or part, for failure to mitigate the alleged
damages, if any.

Fourth Affirmative Defense

4. The proximate cause of Plaintiffs’ injuries, if any, was not the conduct of
Defendants Holiday Village and Fitch.

Fifth Affirmative Defense

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.32 Page 14 of 15

5. Plaintiffs’ claims are barred, in whole or in part, by the doctrine of waiver.

Sixth Affirmative Defense

 

6. Plaintiffs’ claims are barred, in whole or in part, by the applicable Statute of
Frauds
Seventh Affirmative Defense
7. To the extent Plaintiffs are making allegations related to claims that occurred

beyond the applicable statute of limitations, such allegations are time-barred.
Eighth Affirmative Defense

8. Plaintiffs’ claims are barred or limited because the conduct complained of
resulted from Plaintiffs’ own acts or omissions

Ninth Affirmative Defense

9. Plaintiffs’ claims are barred or limited by virtue of Plaintiffs’ failure to join
necessary parties

Tenth Affirmative Defense

10. To the extent that Plaintiffs seek equitable relief against Defendants Holiday
Village and Fitch, such reliefis unavailable

Eleventh Affirmative Defense

ll. To the extent that Plaintiffs seek equitable relief against Defendants Holiday
Village and Fitch, Plaintiffs’ claims are barred, in whole or part, by the doctrines of estoppel,
laches, and unclean hands

Twelfth Affirmative Defense

12. Defendants Holiday Village and Fitch took no actions toward Plaintiffs or
Plaintiffs’ children on the basis of race or any other prohibited criteria.

Thirteenth Affirmative Defense

13. Plaintiffs’ Complaint is barred because Plaintiffs have failed to exhaust the
applicable administrative remedies

Fourteenth Affirmative Defense

14. The actions of others intervened between Defendants Holiday Village and Fitch’s
acts and conduct and Plaintiffs’ alleged damages if any, thereby barring Plaintiffs from
recovering damages from Defendants Holiday Village and Fitch.

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Case 1:08-cv-OO511-.]TN ECF No. 3 filed 05/30/08 PagelD.33 Page 15 of 15

Fifteenth Affirmative Defense

15. Plaintiffs lacks standing for some or all of the causes of action plead and remedies
sought against Defendants Holiday Village and Fitch.

Sixteenth Affirmative Defense

 

16. Defendants Holiday Village and Fitch did not engage in any unlawful purpose or
conduct.

Seventeenth Affirmative Defense
17. Defendants Holiday Village and Fitch did not commit any tortious act.
EiLhteenth Affirmative Defense

18. Defendants Holiday Village and Fitch deny that Plaintiffs are entitled to punitive
damages

RESERVATION OF RIGHT

Defendants Holiday Village and Fitch reserve the right to file such additional affirmative
defenses and amended answers as become apparent during the course of discovery and as justice
so requires

Respectfully submitted,

DYKEMA GOSSETF PLLC

Date: May 30, 2008

 

 

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